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                                                                                October 19, 2020
BY ECF
                                                                        10/20/2020
The Honorable Judge Vernon S. Broderick
United States District Judge                 The status conference scheduled for October 21, 2020 is hereby adjourned to
Southern District of New York                November 2, 2020 at 9:00 a.m. The adjournment is necessary to allow the
500 Pearl Street                             parties to discuss a possible pretrial disposition of the matter. The Court finds
New York, NY 10007                           that the ends of justice served by granting a continuance outweigh the best
                                             interests of the public and the defendant in a speedy trial. Accordingly, it is
RE:    United States v. Idris Browning       further ordered that the time between October 21, 2020 and November 2, 2020
       20 Cr. 02 (VSB)                       is hereby excluded under the Speedy Trial Act, 18 U.S.C. 3161 (h) (7) (A), in
                                             the interest of justice.
Honorable Judge Broderick:

        A status conference in the above-captioned case is currently scheduled for October 21,
2020. Given the current COVID-19 pandemic, the defense respectfully requests that the
conference be adjourned for approximately three weeks for a date on which Mr. Browning may
take a remote plea. To that end, the defense and the Government have conferred and both parties
are available on Monday, November 2 (except at 11am) and Wednesday, November 4 (except
between 12-2:30pm). The defense believes that in order to safeguard Mr. Browning’s health, a
remote plea is necessary and appropriate under the CARES Act.
       In addition, the Government requests, with the consent of defense counsel, that the Court
exclude time through the next-scheduled conference under the Speedy Trial Act. Such an exclusion
would be in the interests of justice as it would allow the parties time to continue discussions
concerning pretrial dispositions of this matter. See 18 U.S.C. § 3161(h)(7)(A).
       Thank you for your consideration of this request.
                                                    Respectfully submitted,

                                                    /s/
                                                    Marne L. Lenox
                                                    Assistant Federal Defender
                                                    (212) 417-8721


cc:    Christy Slavik, Assistant U.S. Attorney
